     Case 1:88-cr-01007-MW-GRJ           Document 1141        Filed 12/07/06      Page 1 of 1


                                                                                          Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR.,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 1136, Motion to Reconsider And/Or Alter or

Amend Judgment, filled by Defendant Willie Reed. In his motion, Defendant Reed repeats the

same arguments the Court has already rejected and addresses no new issues, facts, or arguments

that would warrant the requested relief. Therefore, the Court finds no reason to reconsider its

order in Doc. 1133 adopting the Report and Recommendation of the Magistrate Judge.

Accordingly, Defendant’s motion to reconsider is DENIED.



       DONE AND ORDERED this             7th day of December, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
